                     IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                             CHARLOTTE DIVISION
                          CASE NO. 3:21-CV-405-RJC-DCK

 MICHAEL PIMINTEL,                                 )
                                                   )
                Plaintiff,                         )
                                                   )
    v.                                             )      ORDER
                                                   )
 GOVERNMENT EMPLOYEES                              )
 INSURANCE COMPANY, INC.,                          )
                                                   )
                Defendant.                         )
                                                   )


         THIS MATTER IS BEFORE THE COURT on the “Motion For Admission Pro Hac

Vice and Affidavit” (Document No. 19) filed by Brian L. Church, concerning Eric Hemmendinger,

on September 30, 2021. Eric Hemmendinger seeks to appear as counsel pro hac vice for

Defendant. Upon review and consideration of the motion, which was accompanied by submission

of the necessary fee and information, the Court will grant the motion.

         IT IS, THEREFORE, ORDERED that in accordance with Local Rule 83.1, the “Motion

For Admission Pro Hac Vice and Affidavit” (Document No. 19) is GRANTED.                 Eric

Hemmendinger is hereby admitted pro hac vice to represent Defendant.

         SO ORDERED.

                                Signed: October 1, 2021




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